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                                LTNITED STATES DISTRICT COURT
                                   DISTzuCT OF CONNECTICUT
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                                                                                j
                                           GRAND JURY B-14-1


LINITED STATES OF AMEzuCA                                  CzuMINAL NO. 3:15CR34 (WWE)

                v                                          VIOLATIONS:

GEORGE BRATSENIS and                                       18 U.S.C. $$    e22(gxl) and924(a)(2)
BOMANI AFRICA                                              (Unlawful Possession of Ammunition by a
                                                           Felon)

                                                           18 U.S.C. $$ 2113(a) and (d) (Armed
                                                           Bank Robbery)
                                      t,



                                                           18 U.S.C. $ 2119(1) (Carjacking)

                                                           18 U.S.C. $ 2   (Aiding and Abetting)

                              SECOND SUPERSEDING INDICTMENT

       The Grand Jury charges:

                                          COUNT ONE
                          (Unlawful Possession of Ammunition by a Felon)

       1.       On or about September 29,2014, in the District of Connecticut, defendant

GEORGE BRATSENIS, having been convicted on December 6, 7984,                          in the United   States

District Court for the District of Connecticut of crimes punishable by imprisonment for a term

exceeding one year, that is: Conspiracy to Commit Bank Robbery, in violation of Title 18, United

States Code, Section   37I,   and Bank Robbery   with Violence, in violation of Title 18, United States

Code, Section   2ll3(d), did knowingly      possess ammunition   in and affecting commerce, namely,

nine Aguila .32 caliber full metal jackets; seven V/inchester 20 gauge shotgun shells; and seven

ELEY .22 caliber bullets, all of which had been shipped and transported in interstate and foreign

commerce.

       In violation of Title 18, United States Code, Sections 922(Ð0) and924(a)(2).
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                                           coLrNT TWO
                                       (Armed Bank Robbery)

       2.      On or about September 26,2014, in the District of Connecticut, defendants

GEORGE BRATSENIS and BOMANI AFRICA, by force, violence and intimidation did take, and

aid and abet in the taking of, from the person and presence of employees of People's Bank located

at 4180 Madison Avenue in Trumbull, Connecticut, approximately 529,937 in money belonging to

and in the care, custody, control, management and possession of People's Bank, the deposits      of

which were then insured by the Federal Deposit Insurance Corporation, and in committing and

aiding and abetting in the commission of such offense, defendants GEORGE BRATSENIS and

BOMANI AFzuCA, did assault and put in jeopardy the life of another person by the use of      a


dangerous weapon, that is a firearm.

       In violation of Title 1 8, United States Code, Sections 21 13(a), 21 l3(d) and 2.

                                         COUNT THREE
                                          (Carjacking)

       3.      On or about September 25,2014, in the District of Connecticut, defendants

GEORGE BRATSENIS and BOMANI AFRICA, took, and aided and abetted in the taking of, a

silver Ford Fusion, that had been transported, shipped, and received in interstate commerce, from

D.S. by force, violence, and intimidation, with the intent to cause death and serious bodily harm.

        In violation of Title 18, United States Code, Sections 2lI9(1) and2.

                                 FORFEITURE ALLEGATION
                                     (Firearm Offense)

       4.      Upon conviction of the offense alleged in Count One of this Second Superseding

Indictment, defendant GEORGE BRATSENIS shall forfeit to the United States, pursuant to Title

18, United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c), all


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firearms and ammunition involved in the commission of the offense, including but not limited to

the following: nine Aguila .32 caliber full metal jackets; seven V/inchester 20 gauge shotgun

shells; and seven ELEY .22 caliber bullets

                                      FORFEITURE ALLEGATION
                                           (Bank Robbery)

       5.      Upon conviction of the bank robbery offense alleged in Count Two of this Second

Superseding Indictment, defendants GEORGE BRATSENIS and BOMANI AFzuCA shall forfeit

to the United States of Americapursuant to 18 U.S.C. $ 981(aXl)(C) and 28 U.S.C. $ 2461(c), all

right, title, and interest in any and all property, real or personal, which constitutes or is derived

from proceeds traceable to violations     of   18 U.S.C. $2113, including but not limited to the

following: a sum of money equal to the total amount of any property, real or personal, which

constitutes or is derived from proceeds obtained as a result of the bank robbery charged in Coutt

Two.

       If any of the above-described forfeitable property,   as a result   of any act or omission of the

defendants, cannot be located upon the exercise ofdue diligence, has been transferred, sold to, or

deposited with a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value, or has been commingled with other property which cannot be

divided without diffrculty, it is the intent of the United States, pursuant to 21 U.S.C. $ 853(p),    as


incorporated by 28 U.S.C.S 246I(c), to seek forfeiture of any other property of said defendants up

to the value of the forfeitable property described above.




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       All in accordance with l8 U.S.C. $ 981(aXl)   as incorporated by 28 U.S.C. $ 2461(c), and

Rule 32.2(a) of the Federal Rules of Criminal Procedure.




                                                     A TRUE BILL


                                                     /S/

                                                                ON


T]NITED STATES OF AMERICA


  Dor,*.-   t4^ >J-'t
DEIRDRE M. DALY     I
LINITED STATES ATTORNEY



RAHUL KALE
ASSISTANT UNITED STATES ATTORNEY



AMY C. BROWN
ASSISTANT LINITED STATES ATTORNEY




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